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 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-00341-JAM
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   MARCOS SOTO GONZALEZ,                               DATE: February 25, 2014
     aka, Antonio Suazo Landa,                           TIME: 9:45 a.m.
15                                                       COURT: Hon. John A. Mendez
                                  Defendant.
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17
                                                 STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
19
     through defendant’s counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on February 25, 2014.
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            2.      By this stipulation, defendant now moves to continue the status conference until April 15,
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     2014 at 9:45 a.m., and to exclude time between February 25, 2014, and April 15, 2014 at 9:45 a.m.,
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     under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)      The government has represented that the discovery has been either produced
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            directly to counsel or made available for inspection and copying.
27
                    b)      Counsel for defendant desires additional time to review this discovery, engage in
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            additional research and investigation, discuss potential resolutions with his client, prepare

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 1          pretrial motions, and/or otherwise prepare for trial.

 2                 c)      Counsel for defendant believes that failure to grant the above-requested

 3          continuance would deny him the reasonable time necessary for effective preparation, taking into

 4          account the exercise of due diligence.

 5                 d)      The government does not object to the continuance.

 6                 e)      Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of February 25, 2014 to April 15,

11          2014 at 9:45 a.m., inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv)

12          [Local Code T4] because it results from a continuance granted by the Court at defendant’s

13          request on the basis of the Court’s finding that the ends of justice served by taking such action

14          outweigh the best interest of the public and the defendant in a speedy trial.

15          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19

20
     Dated: February 21, 2014                                 BENJAMIN B. WAGNER
21                                                            United States Attorney
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                                                              /s/ MICHAEL D. McCOY
23                                                            MICHAEL D. McCOY
                                                              Assistant United States Attorney
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25
     Dated: February 21, 2014                                 /s/ ROBERT McCANN
26                                                            ROBERT McCANN
27                                                            Counsel for Defendant
                                                              Marcos Soto Gonzalez
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 3                                      FINDINGS AND ORDER

 4        IT IS SO FOUND AND ORDERED this 21st day of February, 2014

 5
                                              /s/ John A. Mendez
 6                                            THE HONORABLE JOHN A. MENDEZ
                                              UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION REGARDING EXCLUDABLE TIME      3
     PERIODS UNDER SPEEDY TRIAL ACT
